                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In The Matter Of:                                 In Bankruptcy:

DARRELL MOCCIA                                    Case No. 18-41117-TJT
DARLENE MOCCIA                                    Chapter 7
                                                  Hon. Thomas J. Tucker
                  Debtor(s)
__________________________________/

          NOTIFICATION OF INTENT TO FILE FINAL REPORT

To the Clerk of the United States Bankruptcy Court:
      The final report and account for this estate will be filed approximately ninety
days from the date of this notice.
                                               Respectfully Submitted,


                                               /s/ Gene R. Kohut
                                               17000 Kercheval Avenue, Suite 210
                                               Grosse Pointe, MI 48230
                                               Phone: (313) 886-9765
                                               E-mail: ecftrustee@gktrustee.com
Dated: 10/22/2019                              [P47413]




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